Case 5:14-cv-00665-F Document 500 Filed 10/18/21 Page 1 of 11
Case: 21-6101 Document: 010110591426 Date Filed: 10/15/2021     Page: 1
          Case 5:14-cv-00665-F Document 500 Filed 10/18/21 Page 2 of 11
Appellate Case: 21-6101 Document: 010110591426 Date Filed: 10/15/2021     Page: 2
          Case 5:14-cv-00665-F Document 500 Filed 10/18/21 Page 3 of 11
Appellate Case: 21-6101 Document: 010110591426 Date Filed: 10/15/2021     Page: 3
Case 5:14-cv-00665-F Document 500 Filed 10/18/21 Page 4 of 11
Case: 21-6101 Document: 010110591426 Date Filed: 10/15/2021     Page: 4
Case 5:14-cv-00665-F Document 500 Filed 10/18/21 Page 5 of 11
Case: 21-6101 Document: 010110591426 Date Filed: 10/15/2021     Page: 5
Case 5:14-cv-00665-F Document 500 Filed 10/18/21 Page 6 of 11
Case: 21-6101 Document: 010110591426 Date Filed: 10/15/2021     Page: 6
Case 5:14-cv-00665-F Document 500 Filed 10/18/21 Page 7 of 11
Case: 21-6101 Document: 010110591426 Date Filed: 10/15/2021     Page: 7
          Case 5:14-cv-00665-F Document 500 Filed 10/18/21 Page 8 of 11
Appellate Case: 21-6101 Document: 010110591426 Date Filed: 10/15/2021     Page: 8
Case 5:14-cv-00665-F Document 500 Filed 10/18/21 Page 9 of 11
Case: 21-6101 Document: 010110591430 Date Filed: 10/15/2021     Page: 1
          Case 5:14-cv-00665-F Document 500 Filed 10/18/21 Page 10 of 11
Appellate Case: 21-6101 Document: 010110591430 Date Filed: 10/15/2021      Page: 2
          Case 5:14-cv-00665-F Document 500 Filed 10/18/21 Page 11 of 11
Appellate Case: 21-6101 Document: 010110591430 Date Filed: 10/15/2021      Page: 3
